 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
    Middle
 ____________________              Tennessee
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                            Curae Health Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              4 ___
                                           ___ 7 – ___
                                                   2 ___
                                                       2 ___
                                                          7 ___
                                                             5 ___
                                                                6 ___
                                                                   3 ___
                                                                      8
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            1721 Midpark Road, Suite B200
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Knoxville                   TN        37921
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Knox
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.curaehealth.org
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           X
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                           Document     Page 1 of 14
Debtor            Curae Health Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         X Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                         
                                         X Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             6 ___
                                            ___ 2 ___
                                                   2 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         X Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         X No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             
                                         X Yes.            See Attachment
                                                   Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
             Case 3:18-bk-05665            Doc 1         Filed 08/24/18 Entered 08/24/18 15:32:16                               Desc Main
                                                         Document     Page 2 of 14
Debtor         Curae Health Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      
                                       X No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       
                                       X After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       
                                       X 1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                        $1,000,001-$10 million                  $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               
                                                                        x $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                                                      Document     Page 3 of 14
                                       x




Case 3:18-bk-05665   Doc 1   Filed 08/24/18 Entered 08/24/18 15:32:16   Desc Main
                             Document     Page 4 of 14
                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

In re:                                        )
                                              )          Chapter 11
Curae Health, Inc.,                           )          Case No. 18-______
Amory Regional Medical Center, Inc.,          )          Case No. 18-______
Batesville Regional Medical Center, Inc.,     )          Case No. 18-______
Clarksdale Regional Medical Center, Inc.      )          Case No. 18-______
Amory Regional Physicians, LLC                )          Case No. 18-______
Batesville Regional Physicians, LLC           )          Case No. 18-______
Clarksdale Regional Physicians, LLC           )          Case No. 18-______
                                              )
1721 Midpark Road, Suite B200                 )          Judge _____________
Knoxville, TN 37921                           )
                           Debtors.           )

         Attachment to Voluntary Petition for Non-Individuals Filing For Bankruptcy
                                   (Curae Health, Inc.)



Response to Question No. 10

Are any bankruptcy cases pending or being filed by a business partner or an affiliate of the
debtor?

DEBTOR       Amory Regional Medical Center, Inc.
             Batesville Regional Medical Center, Inc.
             Clarksdale Regional Medical Center, Inc.
RELATIONSHIP Sole Member and Sponsor
DISTRICT     Middle District of Tennessee (Nashville Division)
WHEN         08/24/2018
CASE NUMBER,
IF KNOWN




64912185.1
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Case 3:18-bk-05665   Doc 1   Filed 08/24/18 Entered 08/24/18 15:32:16   Desc Main
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Case 3:18-bk-05665   Doc 1   Filed 08/24/18 Entered 08/24/18 15:32:16   Desc Main
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Case 3:18-bk-05665   Doc 1    Filed 08/24/18 Entered 08/24/18 15:32:16   Desc Main
                             Document      Page 10 of 14
Fill in this information to identify the case:

Debtor name: Curae Health, Inc., et al.

United States Bankruptcy Court for the: Middle District of Tennessee


Case number (If known): __________________                                                                                    ☐ Check if this is an
                                                                                                                                amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                        12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

    Name of creditor and complete mailing   Name, telephone number, and         Nature of       Indicate if     Amount of unsecured claim
    address, including zip code             email address of creditor contact   the claim       claim is        If the claim is fully unsecured, fill in only
                                                                                (for            contingent,     unsecured claim amount. If claim is partially
                                                                                example,        unliquidated,   secured, fill in total claim amount and deduction
                                                                                trade debts,    or disputed     for value of collateral or setoff to calculate
                                                                                bank loans,                     unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                government                      Total          Deduction         Unsecured claim
                                                                                contracts)                      claim, if      for value of
                                                                                                                partially      collateral or
                                                                                                                secured        setoff


1     Community Health Systems              Terry Hendon                            Loan                                                         $28,609,418.82
                                                                                                   Disputed
      4000 Meridian Blvd.
                                            615-465-7110
      Franklin, TN 37067

2     Medhost                               Tara Mauldin                        Trade Debt                                                        $3,408,652.74
      2739 Momentum Place                   615-761-2386
      Chicago, IL 60689-5327                tara.mauldin@medhost.com
3     Mississippi Emergency Physician Phil Parker                               Trade Debt                                                        $1,802,717.72
      Services, LLC                   337-609-1877
      200 Corporate Blvd.
      Lafayette, LA 70508
4     Comprehensive Hosp of MS,             David Schillinger, M.D.             Trade Debt                                                        $1,303,259.58
      LLC                                   800-893-9698
      200 Corporate Blvd.
      Lafayette, LA 70508
5     CHSPSC, LLC                           Cortney Edmondson         Trade Debt                                                                  $1,201,749.55
      4000 Meridian Blvd.                   615-465-7686
      Franklin, TN 37067                    Cortney_edmondson@chs.net

6     Northwest Medical Center              Jim Dickinson                          Net                                                            $1,014,835.04
      1530 U.S. Highway 43                  President                            Working
      Winfield, AL 35594                                                         Capital
                                                                                 Proceed
           Case
Official Form 204 3:18-bk-05665
                        Chapter 11 orDoc 1 9Filed
                                      Chapter     08/24/18
                                              Cases:             Entered
                                                     List of Creditors     08/24/18
                                                                       Who Have      15:32:16
                                                                                30 Largest         Desc
                                                                                           Unsecured     Main
                                                                                                     Claims                                                 page1
64903299.1                                               Document               Page 11 of 14
Debtor             Curae Health Inc., et.al                                                 Case number (if known)
                   Name

    Name of creditor and complete mailing   Name, telephone number, and         Nature of       Indicate if     Amount of unsecured claim
    address, including zip code             email address of creditor contact   the claim       claim is        If the claim is fully unsecured, fill in only
                                                                                (for            contingent,     unsecured claim amount. If claim is partially
                                                                                example,        unliquidated,   secured, fill in total claim amount and deduction
                                                                                trade debts,    or disputed     for value of collateral or setoff to calculate
                                                                                bank loans,                     unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                government                      Total          Deduction         Unsecured claim
                                                                                contracts)                      claim, if      for value of
                                                                                                                partially      collateral or
                                                                                                                secured        setoff

7     Monroe County Tax Collector           Pat Kirholz                           Local                                                              $929,889.40
      P.O. Box 684                          662-369-6484                         Property
      301. S. Chestnut St.                                                         Tax
      Aberdeen, MS 39730
8     Strategic Healthcare Resources        Steve Clapp                         Trade Debt                                                           $766,267.09
      121 Leinart St.                       865-607-9923
      Clinton, TN 37716

9     CHS dba Shared Services               Shaun Beggs                         Trade Debt                                                           $561,573.64
      Center-Ft. Smith                      479-401-5036
      4600 Towson Ave.
      Suite 136
      Fort Smith, AR 72901
10    Hospital Housekeeping Systems, Bobby Floyd                                Trade Debt                                                           $471,389.06
      Ltd.                           800-229-2028
      216 E. 4th Street
      Austin, TX 78701
11    Cardinal Health, Incorporated         Mae Zacarias                        Trade Debt                                                           $460,385.61
      7000 Cardinal Place                   866-739-4754, ext 10060                                                                                            .
      Dublin, OH 43017                      -And-
                                            800-964-5227
12    Egerton McAfee Armistead &            Stephen McSween                     Trade Debt                                                           $323,429.38
      Davis P.C.                            865-546-0500
      900 South Gay St.
      Suite 1400
      Knoxville, TN 37902
13    Owens and Minor                       Michelle Thomas                     Trade Debt                                                           $335,181.80
      9120 Lockwood Blvd                    804-723-7626
      Mechanicsville, VA 23116
14    Panola County Tax Assessor            David Garner                          Local                                                              $318,421.12
      151 Public Square                     662-563-6215                         Property
      Suite C                                                                     Taxes
      Batesville, MS 38606
15    Brentwood Behavioral                  Alison Buckley                      Trade Debt                                                           $310,000.00
      Healthcare                            601-936-7817
      3531 E. Lakeland Dr.                  alison.buckley@uhsinc.com
      Flowood, MS 39232

16    DSI Security Services                 Tony Earnest                        Trade Debt                                                           $309,011.57
      600 W. Adams Street                   334-805-3375
      Dothan, AL 36302




           Case
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                        Chapter 11 orDoc 1 9Filed
                                      Chapter     08/24/18
                                              Cases:             Entered
                                                     List of Creditors     08/24/18
                                                                       Who Have      15:32:16
                                                                                30 Largest         Desc
                                                                                           Unsecured     Main
                                                                                                     Claims                                                 page2
64903299.1                                               Document               Page 12 of 14
Debtor          Curae Health Inc., et.al                                                 Case number (if known)
                Name

 Name of creditor and complete mailing   Name, telephone number, and         Nature of       Indicate if     Amount of unsecured claim
 address, including zip code             email address of creditor contact   the claim       claim is        If the claim is fully unsecured, fill in only
                                                                             (for            contingent,     unsecured claim amount. If claim is partially
                                                                             example,        unliquidated,   secured, fill in total claim amount and deduction
                                                                             trade debts,    or disputed     for value of collateral or setoff to calculate
                                                                             bank loans,                     unsecured claim.
                                                                             professional
                                                                             services, and
                                                                             government                      Total          Deduction         Unsecured claim
                                                                             contracts)                      claim, if      for value of
                                                                                                             partially      collateral or
                                                                                                             secured        setoff

17   Philips Healthcare                  Bernard DiPerzio                    Trade Debt                                                           $295,195.21
     300 Minuteman Rd.                   866-472-9100, ext 3670
     Andover, MA 01810

18   HHS LLC                             Bobby Floyd                         Trade Debt                                                           $255,362.40
     P O Box 826                         800-229-2028
     San Antonio, TX 78293-0826

19 Johnson and Johnson Healthcare Karen Hurdman                              Trade Debt                                                           $228,575.18
   5972 Collections Center        732-699-5714
   Chicago, IL 60693              -And-
                                  800-554-7899
20 Stryker Orthopaedics           Dawn Catena                                Trade Debt                                                           $217,327.24
   325 Corporate Dr.              201-831-5652
   Mahweh, NJ 07430               -And-
                                  800-435-0220
21 Anesthesia Assoc of MS PLLC    Camille Mitchell                           Trade Debt                                                           $214,868.91
   2704 W. Oxford Loop, #117      662-550-4299
   Oxford, MS 38655

22   GE Healthcare IITS USA Corp         800-581-5600                        Trade Debt                                                           $214,706.31
     15724 Collections Center
     Chicago, IL 60693

23   Intuitive Surgical Inc.             Isabelle Nguyen                     Trade Debt                                                           $210,928.30
     1266 Kifer Road                     408-523-2255
     Sunnyvale, CA 94086-5206

24   CDW Computer Centers Inc.           Matt Major                          Trade Debt                                                           $180,965.49
     75 Remittance Drive                 312-705-8875
     Suite 1515
     Chicago, IL 60675

25   3M Health Information Systems       Brian Murdock                       Trade Debt                                                           $180,016.10
     575 West Murray Blvd.               801-265-4610
     Murray, UT 84123-4611
26   Medtronic USA Inc.                  Aida Shawish                        Trade Debt                                                           $179,532.33
     710 Medtronic Pkwy                  508-452-1629
     Minneapolis, MN 55432
27   Stat Imaging Solutions LLC          321-206-8419 #2                     Trade Debt                                                           $178,996.41
     187 Country Pl Pkwy                 billing@statisllc.com
     Pearl, MS 39208
28   HHS Culinary and Nutrition          Bobby Floyd                         Trade Debt                                                           $174,157.50
     PO Box 2267                         800-229-2028
     San Antonio, TX 78298


           Case
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                        Chapter 11 orDoc 1 9Filed
                                      Chapter     08/24/18
                                              Cases:             Entered
                                                     List of Creditors     08/24/18
                                                                       Who Have      15:32:16
                                                                                30 Largest         Desc
                                                                                           Unsecured     Main
                                                                                                     Claims                                              page3
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Debtor          Curae Health Inc., et.al                                                 Case number (if known)
                Name

 Name of creditor and complete mailing   Name, telephone number, and         Nature of       Indicate if     Amount of unsecured claim
 address, including zip code             email address of creditor contact   the claim       claim is        If the claim is fully unsecured, fill in only
                                                                             (for            contingent,     unsecured claim amount. If claim is partially
                                                                             example,        unliquidated,   secured, fill in total claim amount and deduction
                                                                             trade debts,    or disputed     for value of collateral or setoff to calculate
                                                                             bank loans,                     unsecured claim.
                                                                             professional
                                                                             services, and
                                                                             government                      Total          Deduction         Unsecured claim
                                                                             contracts)                      claim, if      for value of
                                                                                                             partially      collateral or
                                                                                                             secured        setoff

29   Morrison Management                 Brady Pates                         Trade Debt                                                           $173,253.40
     Specialists, Inc.                   662-721-0198
     400 Northridge Rd., #600
     Atlanta, GA 30350

30   Mid South Rehab Services, Inc.      Walt Rogers               Trade Debt                                                                     $172,400.00
     711 Avignon Dr.                     601-813-7205
     Ridgeland, MS 39157                 wrogers@midsouthrehab.com




           Case
Official Form 204 3:18-bk-05665
                        Chapter 11 orDoc 1 9Filed
                                      Chapter     08/24/18
                                              Cases:             Entered
                                                     List of Creditors     08/24/18
                                                                       Who Have      15:32:16
                                                                                30 Largest         Desc
                                                                                           Unsecured     Main
                                                                                                     Claims                                              page4
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